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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DISTRICT



UNITED STATES OF AMERICA                      )
                                              )
v.                                            )                      4:12CR00130-04 BSM
                                              )
SHANA LYNN DOBSON                             )


                                             ORDER

       The government has filed a motion to revoke pretrial release (docket entry no. 60), and

the issue has been referred to the undersigned for disposition. The Clerk is directed to issue a

summons for the defendant to appear on this motion. The summons should direct the defendant

to appear on Thursday, November 8, 2012, at 10:00 a.m.

       IT IS SO ORDERED this 6 day of November, 2012.




                                                  UNITED STATES MAGISTRATE JUDGE
